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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

GLORIA TANKESLY,
personal representative of
the estate of James Tankesly, deceased,

               Plaintiff,

v.                                                          No. 2:18-cv-00996-SMV-KRS

J.C. PENNEY CORPORATION, INC.

               Defendant.

                   ORDER ADOPTING JOINT STATUS REPORT AND
                        PROVISIONAL DISCOVERY PLAN

       At the Rule 16 scheduling conference held on January 22, 2019 the Court reviewed the

parties’ Joint Status Report and Provisional Discovery Plan (Doc. 10), and adopted it as provided

in the Court’s Scheduling Order, filed concurrently with this Order.

       IT IS SO ORDERED.




                                             _____________________________________
                                             KEVIN R. SWEAZEA
                                             UNITED STATES MAGISTRATE JUDGE
